Case 1:23-cv-00146-JAW Document 29 Filed 06/27/23 Page 1 of 1               PageID #: 302

                                                                   Ten Post Office Square
                                                                   8th Floor South PMB #706
                                                                   Boston, MA 02109
                                                                   617.227.0548
                                                                   www.consovoymccarthy.com


June 27, 2023

VIA ELECTONIC FILING

The Honorable John A. Woodcock, Jr.
United States District Court for the District of Maine
Edward T. Gignoux Courthouse
156 Federal Street
Portland, ME 04101

       RE: Crosspoint Church v. Makin, et al., Case No. 23-cv-00146-JAW

Dear Judge Woodcock:

On June 20, 2023, Defendants provided this Court with notice of enactment of Maine Pub. L.
2023, ch. 188. Although this amendment removed one of the constitutional flaws with the
existing statutory scheme, it does not resolve Plaintiff’s other challenges. See Motion for
Preliminary Injunction (Doc. 5) 7-10; 14-20; Reply Br. (Doc. 21) 7. This challenge remains
ripe for review, see Braidwood Mgmt., Inc. v. Equal Emp. Opportunity Comm'n, No. 22-10145,
2023 WL 4073826, at *5-*13 (5th Cir. June 20, 2023), and Plaintiff will suffer irreparable
harm absent an injunction.



                                                   /s/ Patrick Strawbridge
                                                   Patrick Strawbridge (Bar No. 10024)
                                                   Consovoy McCarthy PLLC
                                                   Ten Post Office Square
                                                   8th Floor South PMB #706
                                                   Boston, MA 02109
                                                   (703) 243-9423
                                                   patrick@consovoymccarthy.com



cc: ECF Recipients
